          Case 1:19-cv-00150-DLF Document 244 Filed 01/25/24 Page 1 of 4




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

BROIDY CAPITAL MANAGEMENT,
LLC, et al.,

             Plaintiffs,

     v.                                                No. 19-cv-150 (DLF)

NICOLAS D. MUZIN, et al.,

             Defendants,

     and

STATE OF QATAR,

             Limited-Purpose Intervenor.



          LOCAL RULE 7(j) MOTION FOR LEAVE TO INTERVENE AND
                      TO UNSEAL COURT RECORDS

      Under Local Rule 7(j) and FED. R. CIV. P. 24, Non-Party Bentley Media

Group, operator of “Just The News,” respectfully moves for permissive leave to

intervene and to unseal certain records relating to communications by the State of

Qatar with its agents and operatives who are defendants in this case.

      1.      Bently Media Group operates “Just The News” (“JTN”), a web-based

news organization. JTN’s Chief Executive Officer and Editor in Chief is John

Solomon, an award-winning investigative journalist, author, and digital media

entrepreneur who has reported for The Associated Press, The Washington Post, The
        Case 1:19-cv-00150-DLF Document 244 Filed 01/25/24 Page 2 of 4




Washington Times, Newsweek, The Daily Beast, and The Hill. JTN’s website may

be found at https://bit.ly/3ScseaO.

       2.     Under FED. R. CIV. P. 24 and the common-law right of access, JTN may

intervene in this case for the limited purpose of seeking access to materials that

have been shielded from public view either by seal or by a protective order. League

of Women Voters v. Newby, 963 F.3d 130, 132 (2020) (quoting EEOC v. National

Children’s Center, Inc., 146 F.3d 1042, 1046 (D.C. Cir. 1998)). JTN must “seek

disclosure only of ‘public records,’ which, in the context of court proceedings, are

called ‘judicial records.’” League of Women Voters, 963 F.3d at 132 (quoting Nixon v.

Warner Communications, Inc., 435 U.S. 589, 597 (1978)). “If the goal in filing a

document is to influence a judge’s decision making, the document is a judicial

record.” Cable News Network, Inc. v. Federal Bureau of Investigation, 984 F.3d 114,

118 (D.C. Cir. 2021).

       3.     The Court issued a Memorandum Opinion on October 13, 2023,

regarding certain sealed and logged documents. Dkt. 228.

       4.     JTN and the American people have an overwhelming interest in

inspecting, disseminating, and engaging in political speech and debate regarding

these documents because they formed the basis of this Court’s Memorandum

Opinion and are central to the ongoing story about Qatari efforts to influence U.S.

elected officials, politics, and legislative affairs.
        Case 1:19-cv-00150-DLF Document 244 Filed 01/25/24 Page 3 of 4




      5.       JTN has a First Amendment and common law right to the logged

documents, and no party has a sufficient interest to continue to conceal them from

public view.

      6.       In compliance with Local Rule 7(m), JTN’s counsel conferred in good

faith with counsel for Plaintiffs, Defendants, and Intervenor Qatar before filing this

motion. The plaintiffs’ counsel consented to this filing. The defendants’ counsel took

no position. Qatar’s counsel objected.

      WHEREFORE, JTN asks that the Court grant it leave to intervene and

unseal the logged documents.

Dated: January 25, 2024                  Respectfully,

                                         /s/ Michael Ding
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                                         *Application for Pro Hac Vice forthcoming
       Case 1:19-cv-00150-DLF Document 244 Filed 01/25/24 Page 4 of 4




                          CERTIFICATE OF SERVICE

      I hereby certify that on January 25, 2024, I electronically filed the foregoing

on the Court’s CM/ECF System. Counsel in the case are registered CM/ECF users

and service will be accomplished by the CM/ECF system.


                                       Respectfully submitted,

                                       /s/ Michael Ding
                                       MICHAEL DING
                                       AMERICA FIRST LEGAL FOUNDATION
